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                   IN THE UNITED STATES DISTRICT COURT
            WESTERN DISCTRICT OF WASHINGTON– SEATTLE DIVISION

LOZANO ET AL,


         Plaintiffs/Respondents

v.
                                            Civil Misc. Action No. 2:22-mc-00078
DOES I-X, ET AL,
                                            Judge Robert S. Lasnik
         Defendants,

v.

BIRCH,

           Petitioner.



                                  ATTACHMENT E
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